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       Attorney for Plaintiff and Counter Defendant
   7   ViaSat, Inc.
   8
                                   UNITED S TATES DISTRICT COURT
   9
                                  S OUTHERN DISTRICT OF CALIFORNIA
  10
  11                                                 )   Case No.: 3:16-cv-00463-BEN-JMA
        ViaSat, Inc.,                                )
  12    a Delaware corporation,
                                                     )   Plaintiff and Counter Defendant
  13                                                 )   ViaSat, Inc.’s Notice of Association of
                                      Plaintiff      )   Counsel – Erika H. Warren
  14                    and Counter Defendant,       )
  15                                                 )
              v.                                     )
  16                                                 )
        Acacia Communications, Inc.,                 )   Dist. Judge: Hon. Roger T. Benitez
  17
        a Delaware corporation,                      )   Hon. Magistrate Jan M. Adler
  18                                                 )
                                                     )   Case Initiated: January 21, 2016
  19                                Defendant        )
                          and Counter Claimant,      )
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                                                      ViaSat v. Acacia, 3:16-cv-00463-BEN-JMA
                                    ViaSat, Inc.’s Notice of Association of Counsel – E. Warren
Case 3:16-cv-00463-BEN-JMA Document 71 Filed 12/04/17 PageID.1080 Page 2 of 2



   1         TO: ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   2         PLEASE TAKE NOTICE that Plaintiff and Counter Defendant ViaSat, Inc.
   3   hereby associates as co-counsel Erika H. Warren (Cal. Bar. No. 295570) of:
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  10   Dated: December 4, 2017                           WARREN LEX LLP
  11                                               By:
  12                                                     Erika H. Warren

  13                                                     Attorney for Plaintiff and Counter
  14                                                     Defendant ViaSat, Inc.

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